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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                  NO. 21-MJ-1271 LF

EPIFANIO ESPINOSA,
                Defendant.

                      NOTICE OF ENTRY OF APPEARANCE
                       AND SUBSTITUTION OF COUNSEL

       COMES NOW, Erlinda O. Johnson, Esq., and respectfully notifies this Honorable

Court, counsel of record for the United States, that she is hereby entering her appearance

on behalf of Epifanio Espinosa for all purposes in this case as Mr. Espinosa’s counsel of

choice and in substitution of counsel Devon Fooks. See, e.g., United States v. Gonzales-

Lopez, 548 U.S. 140, 144 (2007).

       Counsel Erlinda O. Johnson respectfully requests that all notices, pleadings and

correspondence on behalf of Epifanio Espinoza in this case be delivered to the attention

of Erlinda O. Johnson.

                                      Respectfully Submitted,

                                      /s/ Submitted Electronically 9/9/21
                                      Erlinda O. Johnson
                                      Counsel for Epifanio Espinoza
                                      620 Roma Ave. N.W.
                                      Albuquerque, New Mexico 87102
                                      Phone: (505) 792-4048
                                      Fax: (505) 792-2268
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of September 2021 I filed the foregoing
pleading electronically through the CM/ECF system, which caused counsel of record for
the United States, and current counsel of record for the Defendant, to be served with a
copy of this pleading by electronic means.


/s/ Submitted Electronically 9/9/21
Erlinda O. Johnson




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